
625 S.E.2d 783 (2005)
360 N.C. 174
Frank H. CHRISTENSEN
v.
TIDEWATER FIBRE CORP.
No. 552P05.
Supreme Court of North Carolina.
December 1, 2005.
Thomas H. Stark, Chapel Hill, W. Russell Congleton, for Frank H. Christensen.
Joel M. Craig, Erin M. Locklear, Durham, for Tidewater Fibre Corp.

ORDER
Upon consideration of the conditional petition filed on the 4th day of October 2005 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 1st day of December 2005."
